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               EXHIBIT A

                 PUBLIC - REDACTED
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SONOS'S MOTION FOR SUMMARY
         JUDGMENT




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Timeline of Events Relevant to Google's Breach of Contract Claim



                         continuation                           con.                           con.




  Dec. 30, 2011                          Oct. 22, 2014                  Jan. 16, 2018                 April 19, 2019
   Sonos Files First                      Sonos Files 2nd                 Sonos Files 3rd                 Sonos Files '033
 Direct Control Patent                  Direct Control Patent          Direct Control Patent                  Patent




                    Nov. 14, 2013                                                      Dec. 12, 2018
                    Parties Sign CIA                                                   Parties Sign SIA




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Section 3.5 of 2013 Content Integration Agreement




                                                                 Kolker Dec. (Dkt. 478-5), Ex. 2 at Recitals.




                                                                    Kolker Dec. (Dkt. 478-5), Ex. 2 at § 3.2.




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                               in the 2013 Content Integration Agreement




                                                              Kolker Dec. (Dkt. 478-5), Ex. 2 at Recitals.



Google Music
  Service

                App.                      SMAPI




                                                                             Sonos MMS

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              Case 3:20-cv-06754-WHA Document 583-1 Filed 04/21/23 Page 6 of 11
Section 3.4 of 2013 Content Integration Agreement




                                                                   Kolker Dec. (Dkt. 478-5), Ex. 2 at § 3.4.




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Section 12.8 of 2018 Service Integration Agreement




                                                                Kwasizur Dec. (Dkt. 478-1), Ex. 1 at § 12.8.




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               Case 3:20-cv-06754-WHA Document 583-1 Filed 04/21/23 Page 8 of 11
"Direct Control" in the SIA




                                                             SIA -- Kwasizur Dec. (Dkt. 478-1), Ex. 1 at § 1.5.




                                                           SIA -- Kwasizur Dec. (Dkt. 478-1), Ex. 1 at § 3.1.2.




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              Case 3:20-cv-06754-WHA Document 583-1 Filed 04/21/23 Page 9 of 11
Purpose of the SIA




                                                         SIA -- Kwasizur Dec. (Dkt. 478-1), Ex. 1 at Recitals.




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             Case 3:20-cv-06754-WHA Document 583-1 Filed 04/21/23 Page 10 of 11
Same Subject Matter in the CIA and SIA



                                                           CIA -- Kolker Dec. (Dkt. 478-5), Ex. 2 at Recitals.




                                                        SIA -- Kwasizur Dec. (Dkt. 478-1), Ex. 1 at Recitals.




                                                           CIA -- Kolker Dec. (Dkt. 478-5), Ex. 2 at Recitals.




                                                            SIA -- Kwasizur Dec. (Dkt. 478-1), Ex. 1 at § 1.
                                                                                                                 9
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Section 5.3 of 2018 Service Integration Agreement




                                                                 Kwasizur Dec. (Dkt. 478-1), Ex. 1 at § 5.3.




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